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                     7
                     8                              UNITED STATES DISTRICT COURT
                     9                             CENTRAL DISTRICT OF CALIFORNIA
                   10
                   11    SANSI NORTH AMERICA, LLC, a              Case No. 2:18-cv-03541 PSG (SKx)
                         New York limited liability company,
                   12                                             MEMORANDUM OF POINTS AND
                                           Plaintiff,             AUTHORITIES FILED IN
                   13                                             SUPPORT OF DEFENDANT LG
                         v.                                       ELECTRONICS USA, INC.’S
                   14                                             MOTION FOR SUMMARY
                         LG ELECTRONICS USA, INC., a              JUDGMENT
                   15    Delaware corporation, and DOES 1-10,
                                                                  [Filed Concurrently with Notice of Motion and
                   16                      Defendant.             Motion for Summary Judgment; Separate
                                                                  Statement of Undisputed Facts; Declarations of
                   17                                             John S. Purcell, Garry Wicka, and Laura
                                                                  Cohen; and [Proposed] Order submitted]
                   18
                                                                  Date:         November 18, 2019
                   19                                             Time:         1:30 p.m.
                                                                  Judge:        The Hon. Philip S. Gutierrez
                   20                                             Courtroom:    6A
                   21                                             SAC filed:            Sept. 24, 2018
                   22                                             Trial Date:           January 14, 2020
                                                                  Discovery Cut-Off:    Aug. 28, 2019
                   23                                             Final PTC:            December 16, 2019
                   24
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                     1                                     INTRODUCTION
                     2           This is a case about an honest mistake and Sansi North America, LLC
                     3   (“Sansi”)’s cynical response to it. In early 2018, LG Electronics USA, Inc. (“LG”)
                     4   sponsored an article in a trade publication (the “Article”) about developments in
                     5   Organic Light Emitting Diode (OLED) displays.
                     6           The outside firm that created the Article worked from a pre-existing
                     7   marketing piece, written a year before by another outside company, about
                     8   developments in digital signage. This prior article featured several LG and non-LG
                     9   projects, including a picture of plaintiff Sansi’s non-OLED display located in the
                   10    lobby of the Salesforce building in San Francisco. The group that created the
                   11    Article assumed all the photographs in the previous article belonged to LG projects,
                   12    and mistakenly labeled the Salesforce display as an “LG OLED” project. No one
                   13    caught the mistake before publication.
                   14            Shortly after the Article appeared, Sansi brought this mistaken caption to
                   15    LG’s attention. LG immediately apologized and arranged to have the caption and
                   16    picture removed. LG also offered to place a correction in the same publication
                   17    where the mistaken caption appeared. Sansi refused LG’s offer and all subsequent
                   18    attempts to resolve the matter, and filed the current lawsuit instead.
                   19            All of Sansi’s claims fail because, based on Sansi’s own admissions, it can
                   20    show no damage, nor any material confusion, caused by this honest, and quite
                   21    small, mistake.
                   22                                 STATEMENT OF FACTS
                   23            LG is an international electronics company headquartered in Seoul, South
                   24    Korea. This case relates to LG’s products in the digital signage market in the
                   25    United States, specifically its Direct View LED and OLED displays. Direct View
                   26    LED is a flat panel display involving the use of light emitting diodes (LEDs).1
                   27
                   28    1
                             Declaration of Garry Wicka dated September 9, 2019 (“Wicka Dec.”) ¶ 2.
A RENT F OX LLP
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                                                                                    MPA ISO LG ELECTRONICS USA’S
  WAS HI NG TO N
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                     1   OLED displays are a specific, advanced, version of LEDs that allow for tremendous
                     2   flexibility and superior viewing angles compared to standard LED technology. LG
                     3   is currently the only company that sells large format OLED commercial displays.2
                     4   I.     LG HIRES A FIRM TO CREATE THE FIRST EBOOK.
                     5          In 2017, LG hired Robin Duggan of 2.gc, Inc. to create an eBook about
                     6   developments in digital signage (“eBook 1”), with a focus on LG OLED displays in
                     7   particular.3 eBook 1 included pictures of several non-LG displays, including a
                     8   video screenshot of Sansi’s Salesforce LED display. These pictures were included
                     9   as examples of interesting ways businesses used digital signage. The caption for
                   10    the Salesforce picture in eBook 1 did not mention OLED or LG.4
                   11    II.    A SUBSEQUENT EBOOK AND THE ARTICLE CONTAIN A
                   12           MISTAKEN CAPTION.
                   13           About a year later, LG entered into an agreement with NewBay Media
                   14    (“NewBay”) for several marketing projects, including preparing the Article for
                   15    placement in NewBay’s Digital Signage Magazine, an industry publication with
                   16    about 11,000 subscribers.5
                   17           The Article was intended to focus on LG OLED display capabilities. Ms.
                   18    Duggan was not involved in this effort. However, when NewBay prepared the
                   19    Article, it based some of its work on Ms. Duggan’s pre-existing eBook about digital
                   20    signage and included an image of the Salesforce Display. NewBay mistakenly
                   21    assumed all the pictures in the eBook were OLED displays and captioned picture of
                   22    the Salesforce Display as a “custom built OLED screen.” This was a mistake, as
                   23    the Salesforce Display was not OLED, but rather a conventional LED screen.6
                   24
                   25    2
                           Wicka Dec. ¶ 2.
                         3
                   26      Wicka Dec. ¶ 3.
                         4
                           Wicka Dec. ¶ 3, Ex. A.
                   27    5
                           Wicka Dec. ¶ 4; Declaration of Laura Cohen (“Cohen Dec”) ¶ 5.
                   28    6
                           Wicka Dec. ¶ 5; Cohen Dec. ¶¶ 5-6.
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                     1          When the article was then reviewed by LG’s in-house advertising agency,
                     2   HSAd America, it updated the “OLED” references to “LG OLED” as part of a
                     3   global change. Because neither NewBay nor HSAd America was aware that the
                     4   Salesforce Display was neither OLED nor created by LG, neither party spotted this
                     5   mistake. NewBay then received the copy back from HSAd America, and published
                     6   it without further comment from LG.7 A digital version of the article, in
                     7   downloadable eBook form (“eBook 2”), was available on NewBay’s website.8
                     8   III.   SANSI SPOTS THE MISTAKE AND LG IMMEDIATELY
                     9          CORRECTS IT.
                   10           A few months later, in March 2018, Sansi’s outside legal counsel informed
                   11    LG about the mistake. LG investigated and quickly arranged for NewBay to take
                   12    immediate action to take down article off its site.9
                   13           LG also offered to place an ad in NewBay’s Digital Signage Magazine to
                   14    acknowledge its mistake. Sansi rebuffed this offer and instead filed its Complaint
                   15    in this action.10 Since that time, through discovery, Sansi has admitted that it
                   16    cannot identify a single sale it lost, or that LG gained, because of the mistake, and
                   17    that it cannot identify any customers or potential customers who mistakenly believe
                   18    that LG created the Salesforce Display.11
                   19    ///
                   20    ///
                   21    ///
                   22
                         7
                            Wicka Dec. ¶ 6, Ex. B (the picture in question appears on page 3); Cohen Dec.
                   23    ¶¶ 6-10.
                         8
                   24      Wicka Dec. ¶ 7, Ex C.
                         9
                           Declaration of John S. Purcell dated September 9, 2019 (“Purcell Dec”) Exhibit
                   25    A, excerpts from the Deposition of Dennis Hickey (“Hickey Tr.”) at 126:24-127:18,
                         138-140; Exhibit B, excerpts from the Deposition of Rick Bortles (“Bortles Tr.”)
                   26    104:18-105:14.
                   27
                         10
                            Wicka Dec. ¶ 11.
                         11
                            Purcell Dec. Ex. A. Hickey Tr. 67:2-10; Ex. B Bortles Tr. 43:7-16, 94; Ex. D,
                   28    Sansi’s Response to LG’s Special Interrogatories Nos. 2, 3, 4, 5, 11, 23, 24.
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                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
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                     1                                         ARGUMENT
                     2   I.      SANSI’S FALSE DESIGNATION CLAIM FAILS BECAUSE SANSI
                     3           CANNOT DEMONSTRATE HARM
                     4           Sansi’s first claim is for false designation of origin in violation of the
                     5   Lanham Act (15 U.S.C. § 1125(a)). To establish this claim, Sansi must prove LG:
                     6   (1) used in commerce (2) any word, false designation of origin, false or misleading
                     7   description, or representation of fact, which (3) is likely to cause confusion or
                     8   mistake, or to deceive, as to sponsorship, affiliation, or the origin of the goods or
                     9   services in question. See Freecycle Network, Inc. v. Oey, 505 F.3d 898, 902-04 (9th
                   10    Cir. 2007).
                   11            A.       LG Never Sold the Salesforce Wall or Removed Sansi’s Name
                   12                     from It
                   13            Sansi alleges that the Article violated the Lanham Act because LG caused “a
                   14    photograph of the Salesforce screen to be published in the Digital Signage Best
                   15    Practices Guide with a caption falsely stating that the screen was custom built by
                   16    LG…..”12 This is the very definition of a “reverse passing off claim.” Cleary v.
                   17    News Corp., 30 F.3d. 1255, 1260 (1994) (“‘Reverse passing off’ or ‘reverse
                   18    palming off’ occurs when a product is mislabeled to mask the creator's
                   19    contribution.”).
                   20            The 9th Circuit limits reverse passing off to two situations, “express” and
                   21    “implied” passing off:
                   22
                                      Reverse passing off is accomplished expressly when the
                   23                 wrongdoer removes the name or trademark on another party's
                   24                 product and sells that product under a name chosen by the
                                      wrongdoer. Implied reverse passing off occurs when the
                   25                 wrongdoer simply removes or otherwise obliterates the name of
                   26                 the manufacturer or source and sells the product in an unbranded
                                      state.
                   27
                   28    12
                              SAC ¶ 24.
A RENT F OX LLP
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                                                                              MEMORANDUM OF POINTS AND AUTHORITIES
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                     1        Cleary, 30 F.3d. at 1261.
                     2
                                Both types of passing off thus require (i) obliterating or removing the name
                     3
                         of the source and then (ii) selling the product. Id. Neither occurred here - Sansi’s
                     4
                         name never appeared on the Salesforce display (and LG never removed it from the
                     5
                         display), and LG never “sold” the Salesforce display or any facsimile thereof.13
                     6
                         Accordingly, for this reason alone, Sansi’s false designation of origin claim fails as
                     7
                         a matter of law. Luxul Technology Inc. v. Nectarlux, LLC, 78 F.Supp. 3d 1156,
                     8
                         1171 (N.D. Cal. 2015) (In the 9th Circuit, “a reverse passing off claim requires the
                     9
                         alteration of a product and a subsequent sale.”); see, e.g. Fractional Villas, Inc. v.
                   10
                         Tahoe Clubhouse, 2009 WL 160932 (S.D. Cal. 2009) (denying reverse-passing off
                   11
                         claim because only plaintiff’s content was used, not its actual products).
                   12
                                B.     Sansi Has No Evidence of Conduct Likely to Cause “Actual
                   13
                                       Confusion or Mistake”
                   14
                                A false designation claim must also be “likely to cause confusion or mistake,
                   15
                         or to deceive, as to sponsorship, affiliation, or the origin of the goods or services in
                   16
                         question.” 15 U.S.C. § 1125(a)(1)(A).
                   17
                                Here, Sansi was asked in discovery to provide any occasion in which the
                   18
                         Article caused confusion. Sansi identified a total of four clients who mentioned
                   19
                         being confused by the Article, but admitted that it has done business with each of
                   20
                         them since the Article came out and that it is unaware of these companies, or any
                   21
                         others, still being confused about who created the Salesforce Display.14
                   22
                                Sansi’s head of marketing and communications, who oversees the processing
                   23
                         of written inquiries to Sansi, was not aware of a single occasion where anyone
                   24
                         indicated confusion in writing about the Salesforce display or doubted that Sansi
                   25
                   26    13
                            Wicka Dec. ¶ 12; Purcell Decl. Ex. A, Hickey Tr. 50-52, 107:22-108:4; Ex B,
                   27    Bortles Tr. 58-59, 69, 70:2-10.
                         14
                            Purcell Dec. Ex A, Hickey Tr.83:17-85:20; Ex B, Bortles Tr. 121:23-123:4;
                   28    Purcell Dec. Ex. D, Sansi Interrogatory Responses at Nos. 1, 6, 9, 10, 14.
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                     1   created the display.15 NewBay made corrections that Sansi deemed acceptable and
                     2   the mistaken caption is no longer available online.16
                     3            Further, as discussed below, Sansi cannot show anyone who actually made
                     4   any purchasing decisions based on the mistaken caption. Sansi’s failure to show
                     5   any actual confusion is fatal to its claims because specific showings of lost sales or
                     6   reputational damage are required, and mere associations with unfavorable or
                     7   unaffiliated parties do not suffice. See Bobbleheads.com, LLC v. Wright Brothers,
                     8   Inc., 259 F. Supp. 3d 1087, 1097 (S.D. Cal. 2017) (Lanham Act plaintiff must
                     9   generally show that “deception of consumers causes them to withhold trade from
                   10    plaintiff,” citing Lexmark International, Inc. v. Static Components, Inc.,572 U.S.
                   11    118, 134 S.Ct. 1377, 188 L.Ed.2d 392 (2014)).
                   12             C.    Sansi Cannot Show Causation or Damages
                   13                   (1)    Sansi Must Provide Substantial Evidence of Damages for Its
                   14                          Passing Off Claim to Survive
                   15             Sansi also cannot show that the caption caused it any damages. Sansi claims
                   16    damages under Section 1125(a) of the Lanham Act.17 This allows plaintiffs to
                   17    recover (i) defendant’s profits, (ii) any damages sustained by the plaintiff, and (iii)
                   18    the costs of the action.
                   19             Section 35 of the Lanham Act, 15 U.S.C. § 1117(a), governs the award of
                   20    monetary remedies in false origination claims. Lindy Pen Co. v. Bic Pen
                   21    Corp., 982 F.2d 1400, 1405 (9th Cir. 1993), abrogated on other grounds by
                   22    SunEarth, Inc. v. Sun Earth Solar Power Co., Ltd., 839 F.3d 1179 (9th Cir. 2016).
                   23    "Damages are typically measured by any direct injury which a plaintiff can prove,
                   24
                   25
                   26    15
                          Purcell Dec. Ex C, Leathers Tr. 24:16-27:10.
                   27     Wicka Dec. ¶ 8; Purcell Dec. Ex. A, Hickey Tr. 126:24-127:18, 138-140; Ex. B,
                         16

                         Bortles Tr. 104:18-105:14.
                   28    17
                              SAC ¶¶27-48.
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                     1   as well as any lost profits which the plaintiff would have earned but for the
                     2   infringement." Id.
                     3          Under the Lanham Act, a plaintiff must prove an injury to a commercial
                     4   interest in sales or business reputation, and then prove “proximate causation” such
                     5   that injuries to a commercial interest in sales or business reputation is proximately
                     6   caused by a defendant’s misrepresentation. Lexmark Intern., Inc., 572 U.S. at 140.
                     7   Suits based on §1125(a) must show “economic or reputational injury” flowing
                     8   directly from the deception wrought by defendant’s advertising, which occurs
                     9   “when deception of consumers causes those consumers to withhold trade from the
                   10    plaintiff.” Id (emphasis added); see also Salinas Valley Memorial Healthcare
                   11    System v. Monterey Peninsula Horticulture. Inc., 2018 WL 2445349 (N.D. Cal.
                   12    May 31, 2018). Compensatory damages must be established with "reasonable
                   13    certainty" and not be based on speculation or conjecture. McClaran v. Plastic
                   14    Indus., Inc., 97 F.3d 347, 361 (9th Cir. 1996).
                   15                  (2)     Sansi Has No Admissible Evidence of Damages
                   16           Here, Sansi cannot show any economic or reputational injury, and certainly
                   17    none flowing from the Article or eBooks. Sansi’s discovery responses and
                   18    deposition testimony instead show that:
                   19               • Sansi has not been able to identify a single sale LG received because
                   20                  of the mistakes in the Article or the eBooks.18
                   21               • Sansi has not been able to show a single sale it lost as the result of the
                   22                  Article or the eBooks.19
                   23
                   24    18
                            Purcell Dec. Ex A, Hickey Tr. 65:19-21, 66:11-17, 67:2-10, 129:3-132:5; Ex B,
                   25    Bortles Tr. 43:7-16, 73:24-74:5, 90:8-11, 90:23-91:20, Ex. D, Sansi’s First Set of
                         Interrogatory Responses, Nos. 1-4; Ex. E, Sansi’s Second Set of Interrogatory
                   26    Responses, Nos. 23 and 24.
                         19
                            Purcell Dec. Ex A, Hickey Tr. 65:19-21, 66:11-17, 67:2-10, 129:3-132:5; Ex B,
                   27    Bortles Tr. 43:7-16, 73:24-74:8, 90:8-11, 90:23-91:20, 93:11-21, 96:19-24; Ex. D,
                         Sansi’s First Set of Interrogatory Responses, Nos. 1-4; Ex. E, Sansi’s Second Set of
                   28    Interrogatory Responses, Nos. 23 and 24.
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                     1              • Sansi cannot show anyone who did business with it before the Article
                     2                 came out and who no longer does business with Sansi because of the
                     3                 Article or the eBooks.20
                     4              • Sansi’s 30(b)(6) designee on damages could not identify any data to
                     5                 support the contention that Sansi missed out on “opportunity costs” as
                     6                 the result of the LG.21
                     7              • Sansi does not even sell OLED products,22 so it cannot claim that any
                     8                 sales LG made in the OLED space were sales that Sansi “missed out
                     9                 on.”
                   10               • After the Article came out, Sansi’s Vice President of North American
                   11                  Channel Sales asked its dealers why they were not giving more
                   12                  business to Sansi. None of the dealers mentioned LG as the reason.23
                   13           This is insufficient evidence to support damage claims. Fed. Agr. Mortg.
                   14    Corp. v. It's A Jungle Out There, Inc., No. C 03-3721 VRW, 2005 WL 3325051, at
                   15    *11 (N.D. Cal. Dec. 7, 2005) (summary judgment in trademark infringement case
                   16    because plaintiff did not present "any evidence of damages or profits, much less
                   17    damages or profits reasonable attributable to the alleged infringement."). See, also,
                   18    Grasshopper House, LLC v. Clean & Sober Media LLC, Case No.: 2:18-cv-00923-
                   19    SVW-RAO, at *50 (C.D. Cal. Jul. 1, 2019) (Temporal connection between increase
                   20    in profits and alleged violation not sufficient to establish lost profits with
                   21    reasonable certainty).
                   22           Further, LG reviewed its records for the list of 102 people who downloaded
                   23    eBook 2 provided by NewBay, and found that none of these companies placed an
                   24    20
                            Purcell Dec. Ex A, Hickey Tr. 66:11-17, 67:2-10, 129:3-132:5; Ex B, Bortles Tr.
                   25    74:6-8, 82:21-83:21, 90:23-91:20, 93:11-21, 96:19-24; Ex. D, Sansi’s First Set of
                         Interrogatory Responses, Nos. 1-4; Ex. E, Sansi’s Second Set of Interrogatory
                   26    Responses, Nos. 23 and 24.
                         21
                            Purcell Dec. Ex B, Bortles Tr. 97:2-99:20.
                   27    22
                            Purcell Dec. Ex A, Hickey Tr. 31:3-7; Ex. B, Bortles Tr. 100:22-101:3.
                   28    23
                            Purcell Dec. Ex B, Bortles Tr. 96:21-24,125:17-127:9.
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                     1   order for LG’s Direct View LED display, and only one of the companies made a
                     2   purchase of an LG OLED product. That company had done business with LG for
                     3   years prior to the publication of the Article or the eBook 2, and had bought OLED
                     4   products from LG both before and after the Article and eBook 2 were published.24
                     5            As is plain from the uncontroverted testimony provided by Sansi, as well as
                     6   its discovery responses, information provided by LG, and clear-eyed review of
                     7   applicable case law, Sansi suffered no economic or reputational harm which can be
                     8   in any way linked to the Article or eBook 2.
                     9            Sansi’s inability to prove this vital element of its claims dooms them. See
                   10    Committee for Idaho's High Desert, Inc. v. Yost, 92 F.3d 814, 823 (9th Cir. 1996)
                   11    (affirming summary judgment on damages in a trademark case because plaintiff
                   12    failed to create genuine issue of fact as to actual damages); Color Me Mine Enters.
                   13    Inc. v. S. States Mktg. Inc., No. CV 12-00860-RGK (JCx), 2013 WL 12119715, at
                   14    *9 (C.D. Cal. Apr. 25, 2013) (granting summary judgment in trademark
                   15    infringement case because plaintiff's evidence and allegations were "simply
                   16    speculative" and failed to establish with "reasonable certainty" that plaintiff directly
                   17    experienced actual damages "as a proximate result" of defendant's infringement);
                   18    Strike It Rich, Inc. v. Jos. Schlitz Brewing Co., 505 F.Supp., 89, 91 (D.D.C. 1980)
                   19    (motion for partial summary judgment granted in service mark infringement case
                   20    when plaintiff repeatedly "failed to provide this Court or defendant with any proof
                   21    of damage that could be tested or studied"); Groupion, LLC v. Groupon, Inc., 859
                   22    F.Supp.2d 1067, 1081 (N.D Cal. 2012) (summary judgment in trademark
                   23    infringement suit where plaintiff had "no evidence of any actual damages
                   24    incurred").
                   25
                   26
                   27
                   28    24
                              Wicka Decl. ¶¶ 9-12, Ex. D.
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                     1                 (3)     Sansi Cannot Seek “Lost Profits” from LG Because LG
                     2                         Engaged in No Willfully Infringing Conduct
                     3          In the Ninth Circuit, a plaintiff seeking disgorgement of a defendant's profits
                     4   in a trademark infringement case must demonstrate that the defendant willfully
                     5   infringed the mark. Stone Creek, Inc. v. Omnia Italian Design, Inc., 875 F.3d 426,
                     6   439 (9th Cir. 2017) (citing 15 U.S.C. § 1117(a)). “Willfulness requires some
                     7   showing of "a connection between a defendant's awareness of its competitors and
                     8   its actions at those competitors' expense." Id. (internal quotation marks and citation
                     9   omitted). A defendant's continued dissemination of false or misleading advertising
                   10    statements after being confronted by a competitor does not establish willfulness if
                   11    the defendant had a "genuine basis" to dispute a competitor's claims. See Pogrebnoy
                   12    v. Russian Newspaper Distrib., Inc., 289 F. Supp. 3d 1061, 1072 (C.D. Cal. 2017).25
                   13           "Willful infringement carries a connotation of deliberate intent to
                   14    deceive." See Lindy Pen Co., 982 F.2d at 1405. "Courts generally apply forceful
                   15    labels such as `deliberate,' `false,' `misleading,' or `fraudulent' to conduct that meets
                   16    this standard." Id. In particular, disgorgement is permitted only in those cases where
                   17    the infringement is "willfully calculated to exploit the advantage of an established
                   18    mark" or where the defendant is "attempting to gain the value of an established
                   19    name of another." Id. at 1405-06 (citations omitted).
                   20           Here, Sansi has no basis to claim willfulness. The caption was a mistake.26
                   21    Further, as soon as it was discovered, LG: (i) arranged for NewBay to take down
                   22    the eBook containing it; (ii) offered to run a correction in the same magazine where
                   23    25
                            Courts routinely grant summary judgment against plaintiff's request for
                   24    disgorgement when the plaintiff has failed to raise a genuine dispute about
                         willfulness. See, e.g., Hydramedia Corp. v. Hydra Media Grp., Inc., 392 F. App'x
                   25    522, 522-23 (9th Cir. 2010) (finding district court did not err in granting summary
                         judgment as to willfulness and profits where "[d]efendant was not trading off
                   26    [p]laintiff's name" and "[d]efendant's infringement was not willful"); Spin Master,
                         Ltd. v. Zobmondo Entm't, LLC, 944 F.Supp.2d 830, 849 (C.D. Cal. Mar. 7, 2012)
                   27    ("Plaintiffs have not raised a genuine dispute over willfulness for disgorgement
                         purposes and summary adjudication of this theory is warranted.").
                   28    26
                            Wicka Dec. ¶¶ 5-15.
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                     1   the Article appeared; and (iii) refrained from making any further use of the
                     2   mistaken material.27 As far as trading on the “established name of another,” LG
                     3   was not even aware of who Sansi was at the time the Article came out, and even
                     4   Sansi admits that LG is a more well-known brand in the US.28
                     5                 (4)     Sansi Cannot Seek Penalties Under the Lanham Act
                     6          Given that Sansi has not shown any actual damages here, any relief it seeks is
                     7   tantamount to a penalty. The Lanham Act does not allow for penalties for
                     8   inadvertent violations of the Act and only allows award of profits only to the extent
                     9   the award “shall constitute compensation and not a penalty.” 15 U.S.C. § 1117(a);
                   10    ALPO Petfoods, Inc. v. Ralston Purina Co., 913 F.2d 958, 969 (D.C. Cir.
                   11    1990) (“[T]he court must ensure that the record adequately supports all items of
                   12    damages ... lest the award become speculative or violate [the Lanham Act's]
                   13    prohibition against punishment.”).
                   14           Here, this infringement claim arises from an indisputable mistake.29 If Sansi
                   15    could show a single instance where LG (i) made a sale as the result of its mistake;
                   16    or (ii) knowingly made a false representation in an effort to make sales, LG’s
                   17    profits may have been at issue. There is no evidence of the sort.30
                   18           The Lanham Act is simply not an appropriate vehicle to address the situation
                   19    here ̶ where the mistake was inadvertent, and did not result in increased sales to the
                   20    defendant or diminished sales to the plaintiff. Brighton Collectibles, Inc. v. RK
                   21    Texas Leather Mfg., 923 F. Supp. 2d 1245, 1258 (S.D.Cal. 2013) (requiring actual
                   22    sales of intentional copies of a product to support damages claims).31
                   23    27
                            Purcell Dec. Ex. A, Hickey Tr. 126:24-127:18; Cohen Dec. ¶¶ 9-10; Wicka Dec.
                   24    ¶¶ 8-11.
                   25
                         28
                            Wicka Dec. ¶¶ 15-16; Cohen Dec. ¶ 12; Ex. B, Bortles Tr. 35:3-12, 46:5-9.
                         29
                            Wicka Dec. ¶¶ 3-15; Cohen Dec. ¶¶ 6-12.
                   26    30
                            Purcell Dec. Ex. A Hickey Tr. 65:19-21, 66:11-17, 67:2-10, 129:3-132:5; Wicka
                   27    Dec. ¶¶14-16; Cohen Dec. ¶12.
                         31
                           Sansi also claims statutory damages pursuant to 17 U.S.C. § 504 (c). Under this
                   28
                         section, the copyright owner may elect to recover, instead of actual damages and
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                     1                 (5)     A Recent Case from the Northern District of California Is
                     2                         Instructive
                     3          American Automobile Ass’n of Northern California, Nevada & Utah v.
                     4   General Motors LLC, 367 F. Supp. 3d 1072 (N.D. Cal. 2019) provides particular
                     5   guidance on this issue. In AAA, GM and AAA had a dispute over the use of a
                     6   trademark. Among other grounds, GM moved for summary judgment on the issue
                     7   of monetary remedies because (1) there was no evidence that GM acted willfully;
                     8   and (2) there was no evidence that AAA has experienced any actual damages as a
                     9   result of GM's use of the AAA’s mark.
                   10           On willfulness, GM established that it acted with reasonable good faith and
                   11    that its infringement was not “willfully calculated to exploit the advantage of an
                   12    established mark.” 376 F.Supp.3d at 1104. The court found for GM on the issue of
                   13    willfulness despite the fact that GM failed to stop using the mark even after
                   14    receiving a meet and confer letter. Here, where LG was not even aware that Sansi
                   15    had created the Salesforce display, and where LG immediately arranged for
                   16    corrections when it was made aware of its mistake, the case against willfulness is
                   17    even stronger.
                   18           The AAA court also granted judgment on the issue of damages. Noting that
                   19    damages “must be established with ‘reasonable certainty’ and not based on
                   20    speculation or conjecture,” the court ruled that plaintiff could not avoid summary
                   21    judgment on the issue of damages when (i) it failed to provide damage calculations
                   22
                   23
                         profits, an award of statutory damages for all infringements involved in the action
                   24    “in a sum of not less than $750 or more than $30,000 as the court considers just.”
                   25    In a case where the copyright owner proves that infringement was committed
                         willfully, the court has the discretion to increase the award of statutory damages to
                   26    a sum of not more than $150,000. By this same measure, if LG can show it was not
                   27    aware and had no reason to believe that its acts constituted an infringement of
                         copyright, the court may reduce the award of statutory damages to a sum of not less
                   28
                         than $200.
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                     1   in response to discovery; and (ii) its witnesses could not identify any specific
                     2   damages during depositions. Id at 1106.
                     3          The facts in AAA are nearly identical to the case at bar. Sansi was repeatedly
                     4   asked for damage calculations and provided none. Its witnesses could not identify
                     5   any specific instances of lost sales. As in AAA, summary judgment is appropriate.
                     6   II.    SANSI’S FALSE ADVERTISING CLAIM FAILS AS A MATTER OF
                     7          LAW BECAUSE THERE WAS NO MATERIAL CONFUSION AND
                     8          SANSI CANNOT SHOW CAUSATION OR DAMAGES
                     9          Sansi’s second claims is for False Advertising under the Lanham Act (15
                   10    U.S.C. § 1125(a)(1)(B)). Sansi alleges that the Article caused confusion in the
                   11    digital signage community that is likely to influence the purchasing decisions by
                   12    Sansi’s customers and consultants.
                   13           The elements of a Lanham Act false advertising claim are: (i) the defendant
                   14    made a false or misleading statement of fact in a commercial advertisement about a
                   15    product; (ii) the statement either deceived or had the capacity to deceive a
                   16    substantial segment of potential consumers; (iii) the deception is material, in that it
                   17    is likely to influence the consumer’s purchasing decision; (iv) the product is in
                   18    interstate commerce; and (v) the plaintiff has been or is likely to be injured as a
                   19    result of the statement. Cook, Perkiss and Liehe, Inc. v. N. Cal. Collection Serv.,
                   20    Inc., 911 F.2d 242, 244 (9th Cir. 2000).
                   21           LG acknowledges that the caption in the Article and eBook 2 was incorrect.
                   22    However, Sansi has shown in discovery it cannot support any of the other elements
                   23    of this claim.
                   24           A.     There Was No Material Confusion That Deceived a Substantial
                   25                  Segment of Potential Consumers and Influenced Buying Decisions
                   26           A plaintiff must demonstrate that the false or misleading advertising or
                   27    promotion at issue is “material.” JTH Tax, Inc. v. H&R Block East Tax Serv., Inc.,
                   28    28 Fed. App. 207 (4th Cir. 2002). Materiality centers on whether the false or
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                     1   misleading advertisement deceives or is likely to deceive. Pizza Hut, Inc. v. Papa
                     2   John’s Int’l, Inc., 227 F.3d 489, 502 (5th Cir. 2000); Sandoz Pharm. Corp. v.
                     3   Richardson-Vicks, Inc., 902 F.2d 222, 228-29 (3d Cir. 1990).
                     4          Here, neither the Article nor eBook 2 is currently available, so they are not
                     5   “deceiving or likely to deceive.” Sansi was asked in discovery to provide any
                     6   occasions in which the Article caused confusion. Sansi identified a total of four
                     7   clients who mentioned being confused by the Article, but admitted that all four are
                     8   still doing business with Sansi and it is unaware of any clients that are still confused
                     9   about whether Sansi or LG built the Salesforce Display.32
                   10           Sansi’s head of marketing and communications, who oversees the processing
                   11    of written inquiries to Sansi, was not aware of a single occasion where anyone
                   12    indicated confusion about the Salesforce display or doubted that Sansi created the
                   13    display.33 NewBay made corrections deemed acceptable by Sansi and the mistaken
                   14    caption is no longer available online.34
                   15           There is also no evidence of anyone making any purchasing decision based
                   16    on the mistaken caption—Sansi can show no lost sales due to the caption, nor can it
                   17    show any sales LG made because of it.35
                   18           Aside from Sansi’s lack of evidence, LG can also affirmatively show that no
                   19    sales were made based on the mistaken caption. The technology involved here is
                   20    used on substantial projects, which make it easier to track. LG became involved in
                   21
                   22
                   23    32
                             Purcell Dec. Ex A, Hickey Tr. 83:17-85:20; Ex B, Bortles Tr. 121:23-123:4; Purcell
                   24    Dec. Ex. D, Sansi Interrogatory Responses at Nos. 1, 6, 9, 10, 14.
                         33
                            Purcell Dec. Ex C, Leathers Tr. 24:16-27:10.
                   25    34
                            Wicka Dec. ¶¶ 6-8, 15; Purcell Dec. Ex. A, Hickey Tr. 126:24-127:18, 138-140;
                   26    Ex. B, Bortles Tr. 104:18-105:14.
                         35
                            Purcell Dec. Ex A, Hickey Tr. 66:11-17, 67:2-10, 129:8-132:5; Ex B, Bortles Tr.
                   27    74:6-8, 82:21-83:21, 90:23-91:20, 93:11-21, 96:19-24; Ex. D, Sansi’s First Set of
                         Interrogatory Responses, Nos. 1-4; Ex. E, Sansi’s Second Set of Interrogatory
                   28    Responses, Nos. 23 and 24.; Wicka Dec. ¶ 12-15.
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                     1   only four Direct View LED projects after the Article appeared, none of which were
                     2   obtained in any manner relating to the Article or eBook 2.36
                     3          Similarly, LG’s made no OLED sales as a direct result of the Article or
                     4   eBook 2.37 LG has no correspondence from any OLED client that mentions Sansi
                     5   or the Salesforce Display, which makes sense, because the Salesforce Display was
                     6   not OLED.38 LG also did not put any leads in its marketing database it received
                     7   from NewBay after the Article and eBook 2 came out.39
                     8          Finally, the fact that LG did not make the mistake in “head to head”
                     9   advertising makes a damage award even less appropriate.40 TrafficSchool.com, Inc.
                   10    v. Edriver Inc., 653 F.3d 820, 830 (9th Cir. 2011) (“an award of profits with no
                   11    proof of harm is an uncommon remedy in a false advertising suit. It's appropriate
                   12    in false comparative advertising cases, where it's reasonable to presume that every
                   13    dollar defendant makes has come directly out of plaintiff's pocket…The reason
                   14    there is that plaintiff is unlikely to have lost any sales or sale contracts to defendant,
                   15    and the damages must be measured by defendant's gains from the illicit use.”);
                   16    Harper House, Inc. v. Thomas Nelson, Inc., 889 F.2d 197, 208-09 (9th Cir. 1989)
                   17    (“When advertising does not directly compare defendant's and plaintiff's products,”
                   18    the injury to plaintiff “may be a small fraction of the defendant's sales, profits,
                   19    or advertising expenses.”).
                   20           B.     Sansi Cannot Show Causation or Damages
                   21           As with its false designation of origin claim, Sansi’s false advertising claim
                   22    fails because Sansi cannot show causation or damages relating to the mistaken
                   23    caption. LG incorporates its argument on these points by reference.
                   24
                   25    36
                            Wicka Dec. ¶¶ 12-13.
                   26
                         37
                            Wicka Dec. ¶¶ 14-16.
                         38
                            Wicka Dec. ¶ 14.
                   27    39
                            Wicka Dec. ¶ 9.
                   28    40
                            Wicka Dec. ¶ 16; Purcell Dec. Ex. A, Hickey Tr. 86:10-87:3.
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                     1   III.   SANSI’S TRADE DRESS CLAIM FAILS BECAUSE THE
                     2          SALESFORCE DISPLAY DOES NOT QUALIFY AS TRADE DRESS
                     3          Sansi’s third cause of action is for trade dress infringement under the Lanham
                     4   Act (15 U.S.C. § 1125(a)). Sansi alleges the physical components of the screen are
                     5   Sansi trade dress due to the unique design and that LG’s use of the photo infringed
                     6   Sansi’s trade dress.
                     7          A.     There Is No Trade Dress Protection for the Completely Functional
                     8                 Sansi Wall
                     9          The elements of a trade dress infringement cause of action under the Lanham
                   10    Act are “(1) that its claimed dress is nonfunctional; (2) that its claimed dress serves
                   11    a source-identifying role either because it is inherently distinctive or has acquired
                   12    secondary meaning; and (3) that the defendant's product or service creates a
                   13    likelihood of consumer confusion.” Millennium Laboratories, Inc. v. Ameritox,
                   14    Ltd., 817 F.3d 1123 (9th Cir. 2016).
                   15           Generally, a product feature is functional if it is essential to the use or
                   16    purpose of the article or if it affects the cost or quality of the article. "A product
                   17    feature need only have some utilitarian advantage to be considered functional." Disc
                   18    Golf Ass'n v. Champion Discs, Inc., 158 F.3d 1002 (9th Cir. 1998). Trade dress,
                   19    taken as a whole, is functional if it is "in its particular shape because it works better
                   20    in this shape." Leatherman Tool Group, Inc. v. Cooper Indus., Inc., 199 F.3d 1009,
                   21    at 1013 (9th Cir. 1999) (emphasis added).
                   22           Sansi has the burden to prove that the trade dress, taken as a whole is not
                   23    “functional.” See 15 U.S.C. § 1125(c)(4)(A). Indeed, the Ninth Circuit has
                   24    suggested that in order to establish nonfunctionality, the party with the burden must
                   25    demonstrate that the product feature serves no purpose other than
                   26    identification. Disc Golf, 158 F.3d at 1007.
                   27
                   28
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                     1          In discovery, Sansi could not identify a single aspect of its wall that was not
                     2   actually functional. When trying to do so in its interrogatory responses, Sansi
                     3   stated that the physical components of the screen:
                     4                 are a unique combination of elements custom designed to
                                       maximize the space and enhance the aesthetics of the screen,
                     5                 such as the size and number of pixels, the unusually long length
                                       of the screen and the placement of the LED components so as to
                     6                 create the appearance that the creative content moves off the
                                       screen.41
                     7
                     8   Oddly, these are actually all utilitarian aspects of the produce in question—a video
                     9   screen. For these to qualify as trade dress, they would need to serve “no purpose
                   10    other than” to suggest to the outside world that this display belongs to Sansi. Sansi
                   11    has failed to show how these characteristics “identify” that this product comes from
                   12    Sansi in any way. Instead, Sansi admitted just the opposite, that the only way to tell
                   13    who designed the display would be to “pull off the panel” or “ask someone.”42
                   14    Sansi does not even put its name on its displays.43
                   15           Further, the shape of the display and the content displayed (which are the
                   16    only aspects that can actually be gleaned from the small picture of the display in the
                   17    Article and eBook 2) are admittedly not owned by Sansi. Sansi admits the actual
                   18    shape of the display came from Salesforce, and that the content itself was created
                   19    by a third party.44 This means Sansi’s trade dress claim must be limited to the
                   20    actual LEDs in the display. As detailed below, Sansi admits that the only purpose
                   21    of the LEDs is, in fact, to emit light and display videos. These admittedly
                   22    utilitarian functions cannot serve as “trade dress.”
                   23           Finally, Sansi claims that “no other LED video screen in the world is
                   24    designed or looks precisely like this one.”45 This means this configuration has
                   25    41
                            Purcell Dec. Ex. D, Sansi’s Responses to Interrogatory No. 17.
                   26    42
                            Purcell Dec. Ex. B, Bortles Tr. 69:3-7, 70:2-10.
                   27
                         43
                            Purcell Dec. Ex. A, Hickey Tr. 28:12-16.
                         44
                            Purcell Dec. Ex. A, Hickey Tr. 33:12—36:20; Ex. B, Bortles Tr. 59:16-60:14.
                   28    45
                            Purcell Dec Ex. B, Bortles Tr 24:6-25:18; SAC ¶39.
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                     1   never been used anywhere else, and thus could hardly serve the unique and solitary
                     2   purpose of “branding,” as required by Ninth Circuit law.
                     3          B.     Sansi’s Witnesses Admitted the Salesforce Wall Is Completely
                     4                 Functional.
                     5          At deposition, Sansi’s CEO flat out admitted that the entirety of the display is
                     6   functional.46 He also made clear that no part of the display serves any actual “trade
                     7   dress” purpose:
                     8                 Q. “Is there any part of that display that Sansi put in there just
                     9          doesn’t serve any function, but it’s there so people know that Sansi put
                   10           that display up? Can you identify anything that fits that definition.
                   11                  A. That—the answer is no.”47
                   12           Sansi’s Rick Bortles, a longtime LED expert and Sansi’s Vice President of
                   13    North American Channel Sales, testified that the only purpose of an LED was to
                   14    “emit light” and that the only function of Sansi’s video displays is to display
                   15    videos. That is their “only function.”48 Further, with respect to the Salesforce
                   16    Display, there is nothing about it that would allow a person to know it was a Sansi
                   17    project:
                   18           Q. Is there anything about it that when you see it will let you know it was
                   19           Sansi, or do people generally have to ask?
                                A. People have to ask. I mean, I think you have to ask a receptionist or
                   20           somebody.49
                   21
                         And with respect to video displays in general, Sansi admitted that the only way to
                   22
                         know who made it is to ask someone or to “pull a panel off”:
                   23
                                Q. When you look at other projects, do you have any way of knowing who
                   24           makes them just by looking at them, or do you have to ask as well?
                   25
                         46
                   26       Purcell Dec Ex. A, Hickey Tr. 104:6-23.
                         47
                            Purcell Dec Ex. A, Hickey Tr. 107:22-108:4
                   27    48
                            Purcell Dec Ex. B, Bortles Tr. 67:23-68:22.
                   28    49
                            Purcell Dec. Ex B, Bortles Tr. 68:23-69:7.
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                     1          MS. MANKEY: Objection. Vague and ambiguous. Incomplete
                     2          hypothetical.

                     3          A. It’s very difficult, from 20 feet away, to tell who made it. You really
                                have to either ask for pull a panel off. You can tell—
                     4
                                Q. How could you tell from pulling a panel off?
                     5          A. The back of it usually has a log or something like that.50
                     6          Sansi’s senior executives also admitted the following:
                     7              • People generally cannot tell the Salesforce project was from Sansi just
                     8                  by looking at it.51
                     9              • The Salesforce project was “turn-key” and Sansi does not own any part
                   10                   of it.52
                   11               • The actual shape and location of the display came from Salesforce, not
                   12                   Sansi.53
                   13               • Sansi has no copyright, trademark or trade dress registrations relating
                   14                   to the Salesforce project.54
                   15               • Sansi had no role in creating any of the content for the Salesforce
                   16                   display.55
                   17               •   Each Sansi display, including Salesforce, is a custom project.56
                   18           These statements demonstrate that even Sansi understood the Salesforce
                   19    Project to be entirely functional, and therefore not worthy of trade dress protection,
                   20    and not the subject matter for a trade libel cause of action.
                   21
                         50
                            Purcell Dec. Ex B, Bortles Tr. 70:2-15.
                   22    51
                            Purcell Dec. Ex A , Hickey Tr. 26:12-16, 28:24-30:6; 51:17-52:15, Ex. B, Bortles Tr. 58:10-
                   23    15, 69:3-7, 70:2-15.
                         52
                            Purcell Dec. Ex. A, Hickey Tr. 37:3-21; Ex. B, Bortles Tr. 53:15-18.
                   24    53
                            Purcell Dec. Ex. A, Hickey Tr. 33:12-36:20; Ex. B, Bortles Tr. 59:16-60:14.
                   25    54
                            Purcell Dec. Ex. A, Hickey Tr. 134:24-135:18; Ex. E, Sansi’s Response to Second Set of
                         Interrogatories, Resp. No. 21.55 Purcell Dec. Ex. A, Hickey Tr. 33:13-36:20; Ex. B, Bortles Tr.
                   26    23:11-14, 24:23--25:18, 59:16-60:14.
                         55
                   27       Purcell Dec. Ex. A, Hickey Tr. 33:13-36:20; Ex. B, Bortles Tr. 23:11-14, 24:23--25:18, 59:16-
                         60:14.
                   28    56
                            Purcell Dec. Ex. B, Bortles Tr 24:6-25:18; SAC ¶39
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                     1          C.     Sansi Cannot Show Causation Or Damages
                     2          Sansi’s trade dress claim also fails for the same reasons its other Lanham Act
                     3   claims fail—it cannot show causation or damages. LG incorporates its argument on
                     4   these points by reference.
                     5   IV.    SANSI’S TRADE LIBEL CLAIM FAILS BECAUSE SANSI WAS NOT
                     6          DISPARAGED, LG’S CONDUCT WAS NOT WILLFUL AND SANSI
                     7          HAS NO DAMAGES
                     8          Sansi’s fourth cause of action is for trade libel. Under California law,
                     9   “[t]rade libel is the publication of matter disparaging the quality of another’s
                   10    property, which the publisher should recognize is likely to cause pecuniary loss to
                   11    the owner. The tort encompasses ‘all false statements concerning the quality of
                   12    services or product of a business which are intended to cause that business ﬁnancial
                   13    harm and in fact do so.’” City of Costa Mesa v. D’Alessio Investments, LLC, 214
                   14    Cal. App. 4th 358, 376 (2013); (citation omitted). For a statement to constitute
                   15    trade libel, it must be made with actual malice, that is, with knowledge it was false
                   16    or with reckless disregard for whether it was true or false.” J-M Manufacturing Co.,
                   17    Inc. v. Phillips & Cohen LLP, 247 Cal. App. 4th 87, 97 (2016).
                   18           Sansi lacks nearly every element of this claim. The article did not disparage
                   19    Sansi, the mistake was clearly made without “intention,” and it was not intended to
                   20    cause harm (nor has Sansi shown any harm caused).
                   21           A.     The Alleged Conduct Was Not Disparaging
                   22           According to section 629 of the Restatement Second of Torts (1977),
                   23    “[a]statement is disparaging if it is understood to cast doubt upon the quality of
                   24    another’s land, chattels or intangible things, or upon the existence or extent of his
                   25    property in them, and (a) the publisher intends the statement to cast the doubt, or
                   26    (b) the recipient’s understanding of it as casting the doubt was reasonable. ”
                   27    Hartford Casualty Ins. Co. v. Swift Distribution, Inc., 59 Cal. 4th 277, 288 (2014).
                   28    “What distinguishes a claim of disparagement is that an injurious falsehood has
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                     1   been directed speciﬁcally at the plaintiff’s business or product, derogating that
                     2   business or product and thereby causing that plaintiff special damages.” Id. at 294.
                     3          Here, the mistaken caption contained no disparaging information about
                     4   Sansi. It mistakenly described the Salesforce Display as “LG OLED.” The caption
                     5   does not mention Sansi, nor did it question the quality of any of Sansi’s products.
                     6          B.     Sansi Admits LG Did Not Disparage Its Products
                     7          Sansi identified no occasions where LG criticized Sansi’s products in
                     8   discovery.57 At deposition, Sansi’s CEO testified that he was never aware of LG
                     9   disparaging Sansi’s products.58
                   10           Q. Are you aware of any occasions where LG affirmatively said that Sansi’s
                   11    products were bad?
                   12           A. Sansi’s products were bad?
                   13           Q. Right.
                   14           A. No………
                   15           Q. Have you ever heard of LG going out and saying Sansi’s products were
                   16    of poor quality?
                   17           A. No. I would expect they wouldn’t since they copied us.59
                   18    Sansi’s Vice President of North American Channel Sales testified to that fact as
                   19    well.60 There is simply no evidentiary basis for this claim.
                   20           C.     There Is No Evidence of Malice
                   21           LG did not create the Article or the eBooks with any malice towards Sansi.61
                   22    LG was not even aware that Sansi existed at the time and at no time in creating the
                   23    Article or the eBooks did LG intend to harm Sansi.62 Further, the alleged
                   24    57
                            Purcell Dec. Ex. D, Sansi’s Responses to Interrogatory No. 18.
                   25    58
                            Purcell Dec. Ex. A, Hickey Tr. 140:10-22.
                   26
                         59
                            Id.
                         60
                            Purcell Dec. Ex. B, Bortles Tr. 49:19-50:2.
                   27    61
                            Wicka Dec. ¶¶ 15-16; Cohen Dec ¶ 9.
                   28    62
                            Wicka Dec. ¶¶ 15-16; Cohen Dec. ¶ 9.
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                     1   “disparagement” consisted of LG referring to the Sansi project as being “from” LG.
                     2   It makes no sense that LG would intend to “insult” Sansi’s work by associating it
                     3   with LG.
                     4             D.     Sansi Cannot Show Any Lost Sales
                     5             “While . . . general damages are presumed in a libel of a businessman, this is
                     6   not so in action for trade libel.” Erlich v. Etner, 224 Cal. App. 2d. 69 (1964).
                     7   “[The] plaintiff must prove in all cases that the publication has played a material
                     8   and substantial part in inducing others not to deal with him, and that as a result he
                     9   has suffered special damages. . . . Usually, . . . the damages claimed have consisted
                   10    of loss of prospective contracts with the plaintiff’s customers…This means, in the
                   11    usual case, that the plaintiff must identify the particular purchasers who have
                   12    refrained from dealing with him, and specify the transactions of which he claims to
                   13    have been deprived.’ ” Id. As detailed above, Sansi, by its own admission, cannot
                   14    identify any specific sales it lost.
                   15              Because Sansi cannot establish the baseline elements needed to maintain its
                   16    for trade libel, summary judgment should be granted in LG’s favor.
                   17    V.        SANSI’S UNFAIR COMPETITION CLAIMS FAILS AS A MATTER
                   18              OF LAW
                   19              Sansi’s sixth cause of action was pleaded under California Bus. & Prof. Code
                   20    §17200. Sansi has agreed to drop this claim.63
                   21              Sansi’s fifth cause of action is for Common Law Unfair Competition. The
                   22    elements of common law unfair competition are “(1) the plaintiff invested
                   23    substantial time, skill or money in developing its property; (2) the defendant
                   24    appropriated and used the property at little or no cost; (3) the plaintiff did not
                   25    authorize or consent to the property’s appropriation and use; and (4) the plaintiff
                   26
                   27
                   28    63
                              Purcell Dec. ¶2.
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                     1   was injured by the appropriation and use.” Allen v. Ghoulish Gallery, 2007 WL
                     2   4207923, *11 (S.D.Cal. Nov. 20, 2007).
                     3            A.      The Salesforce Display Is Not Sansi’s Property.
                     4            The first three elements of a common law unfair competition claim all center
                     5   around one party appropriating the “property” of another. Here, Sansi freely admits
                     6   it does not own the Salesforce Display. Salesforce does.64 LG cannot appropriate
                     7   property from Sansi if Sansi does not actually own it. Accordingly, Sansi has no
                     8   legal basis on which to pursue this claim.
                     9            B.      LG’s Alleged Conduct Does Not Constitute Either Express
                   10                     Reverse-Passing Off Or Implied Reverse-Passing Off
                   11             “The common law tort of unfair competition is generally thought to be
                   12    synonymous with the act of “passing off” one's goods as those of another.” Bank of
                   13    the West v. Super. Ct., 2 Cal. 4th 1254, 1263 (1992). Here, Sansi alleges LG’s
                   14    purported misconduct constitutes unlawful, unfair or fraudulent business acts in or
                   15    practices and has the “effect of reverse-passing off of Sansi’s produce as LG’s
                   16    product.”65
                   17             As explained above, “express reverse passing off” takes place when “the
                   18    wrongdoer removes the name or trademark on another party's product and sells that
                   19    product under a name chosen by the wrongdoer.” Zito v. Steeplechase Films, Inc.,
                   20    267 F.Supp. 2d 1022, 1028-29 (N.D.Cal. 2003). “Implied reverse-passing off”
                   21    involves “removing or obliterating the name of the source and then selling [t]he
                   22    (sic) product in an unbranded state.” Id. at 1029.
                   23             However, not only does this require sales of the item which was allegedly
                   24    “reverse-passed off”, but reverse-passing off has been determined to, as a matter of
                   25    law, not prevent the copying of intellectual property. OTR Wheel Engineering, Inc.
                   26    v. West Worldwide Services, Inc., 897 F.3d 1008, 1016 (9th Cir. 2018) (citing
                   27    64
                              Purcell Dec. Ex. A, Hickey Tr. 37:3-21; Ex. B, Bortles Tr. 53:15-18.
                   28    65
                              SAC ¶ 60.
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                     1   Dastar Corp. v. Twentieth Century Fox Film Corp., 539 U.S. 23 (2003)). In the 9th
                     2   Circuit, “a reverse passing off claim requires the alteration of a product and a
                     3   subsequent sale.” Luxul Technology Inc., 78 F.Supp. 3d at 1171; see, e.g.
                     4   Fractional Villas, Inc.,2009 WL at *1 (denying a reverse-passing off claim because
                     5   only plaintiff’s content was used, not its actual products).
                     6            Sansi has never alleged that LG took any Sansi product, removed the Sansi
                     7   labeling, and resold it as its own. Indeed, Sansi has never even alleged that LG ever
                     8   had access to any Sansi product at all, and instead has merely argued that Sansi’s
                     9   intellectual property rights have been infringed.
                   10             Sansi’s arguments are thus similar to those raised by the plaintiff in
                   11    SkinMedica, Inc. v. Histogen, Inc., 869 F.Supp. 2d 1176, 1188-89 (S.D.Cal. 2012)
                   12    (the fact that plaintiff had several people call with inquiries based on defendant’s
                   13    conduct was not “damage” enough to defeat summary judgment—court required
                   14    showing that people actually made decisions detrimental to plaintiff based on their
                   15    alleged confusion—“the common law tort of unfair competition consists of ‘passing
                   16    off’ or analogous acts, and is rooted in preventing conduct that harms competitors
                   17    by deceiving customers.”).
                   18             Like the plaintiff in SkinMedica, Sansi is attempting to apply trademark law
                   19    where it has long been held not to apply, and therefore this cause of action fails as a
                   20    matter of law.
                   21             C.      No Damages Are Available for Sansi’s Common Law Unfair
                   22                     Competition Cause of Action
                   23             Finally, as with all its other claims, Sansi cannot show any damages caused
                   24    by LG’s alleged conduct:
                   25                  • Sansi has not identified a single sale LG received due to the Article or
                   26                     the eBooks.66
                   27
                   28    66
                              Purcell Dec. Ex. B, Bortles Tr. 43:7-16, 73:24-74:5, 90:8-11, 90:23-91:20.
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                     1              • Sansi has not showed a single sale it lost as the result of the Article or
                     2                 the eBooks.67
                     3              • Sansi cannot identify any entities who did business with them before
                     4                 the Article came out and who no longer does business with Sansi
                     5                 because of the Article or the eBooks.68
                     6              • Sansi does not sell OLED products,69 so it cannot claim that any sales
                     7                 LG made in the OLED space were sales that Sansi “missed out on.”
                     8              • After the Article came out, Sansi’s Vice President of channel sales
                     9                 asked its dealers why they were not giving more business to Sansi.
                   10                  None of the dealers mentioned LG as the reason.70
                   11           With no evidence of damages, Sansi’s common law unfair competition claim
                   12    must also be dismissed. Ghoulish Gallery, 2007 at *11 (elements of unfair
                   13    competition claim include that “plaintiff was injured by the appropriation and use”).
                   14                                       CONCLUSION
                   15           For the foregoing reasons, LG respectfully requests that the Court grant its
                   16    motion in its entirety.
                   17    Dated: September 10, 2019                 Respectfully submitted,
                   18                                              ARENT FOX LLP
                   19
                   20                                           By: /s/John S. Purcell
                                                                  John S. Purcell
                   21
                                                                   Attorneys for Defendant
                   22                                              LG ELECTRONICS USA, INC.
                   23
                   24    67
                            Purcell Dec. Ex. B, Bortles Tr. 74:6-8, 93:11-20, 94, 96:21-24.
                   25    68
                            Purcell Dec. Ex A, Hickey Tr. 66:11-17, 67:2-10, 129:8-132:5; Ex B, Bortles Tr.
                         74:6-8, 82:21-83:21, 90:23-91:20, 93:11-21, 96:19-24; Ex. D, Sansi’s First Set of
                   26    Interrogatory Responses, Nos. 1-4; Ex. E, Sansi’s Second Set of Interrogatory
                         Responses, Nos. 23 and 24.
                   27    69
                            Purcell Dec. Ex A, Hickey Tr. 31:3-7; Ex. B, Bortles Tr. 100:22-101:3.
                   28    70
                            Purcell Dec. Ex. B, Bortles Tr. 96:21-24, 125:17-127:9.
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